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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
In re: Case No. 05-03817-3F1
WINN-DIXIE STORES, INC., et al., ) Chapter 11
Debtors. Jointly Administered

ORDER AUTHORIZING (Il) RETROACTIVE REJECTION
OF CERTAIN REAL PROPERTY LEASES AND (I) ABANDONMENT OF
RELATED PERSONAL PROPERTY
These cases came before the Court for hearing on May 19, 2005, upon the motion

of Winn-Dixie Stores, Inc. and certain of its subsidiaries, debtors and debtors-in-possession in
the above-captioned cases (collectively, the "Debtors")', for entry of an order under 11 U.S.C. §§
105(a) and 365 authorizing and approving the rejection by the Debtors effective retroactively of
the unexpired non-residential rea] property leases listed on Exhibit A to the motion (the
"Motion"). Prior to the hearing on the Motion, the Debtors notified the Court that they had
determined that the rejection of the lease governing store number 817 in Wilmington, North
Carolina was not at this time in the best interests of the Debtors' estates and, thus, they had
removed such lease from the leases originally sought to be rejected by the Motion. The Debtors
further notified the Court that the unexpired non-residential real property leases sought to be
rejected by the Motion now consisted only of those leases set forth on Exhibit A to this Order

(collectively, the "Leases"). The Court has reviewed the Motion, considered the evidence and

heard the argument of counsel. After due deliberation and finding proper notice has been given,

 

All capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion,
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the Court determines that good cause exists to grant the relief and that granting the relief is in the
best interest of these estates and creditors. Accordingly, it is

ORDERED AND ADJUDGED THAT:

1. The Motion is granted.

2. The Debtors are authorized to reject the Leases pursuant to 11 U.S.C. §
365(a), and each Lease is deemed rejected, effective as of the earlier of (a) the date upon which
the Debtors provide notice of termination to the landlord party to the Lease and tender
possession of the premises to such landlord and (b) the date of entry of an order approving the
rejection; provided, however, that the Lease with respect to store number 2109 is deemed
rejected effective as of May 11, 2005.

3. Any interest of any of the Debtors in any personal property remaining in
the stores that are the subject of the Leases is deemed abandoned, pursuant to 11 U.S.C. § 554(a),
effective as of the date of entry of this Order. Any landlord who seeks to dispose of any such
abandoned property shall provide fifteen days written notice of such intent to any party who the
Debtors advise is likely to have an interest in such property. Unless such interested party
removes the property from the premises within such fifteen-day period, or within a longer period
that is established by written agreement among the parties, the landlord under the Lease shall be
entitled to dispose of the abandoned property as it deems fit.

4, Nothing in this Order constitutes a waiver of any claims the Debtors may

have against any of the non-debtor parties to the Leases, whether or not related to the Leases.

5, The Debtors are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order.
 

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6. The Court shall retain jurisdiction to hear and determine all matters arising
from the implementation of this Order.

Dated May 9 , 2005 in Jacksonville, Florida.

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U Fossa fos parker, ruptcy Judge

Cynthia C. Jackson is directed to serve
a copy of this Order on all parties who
received copies of the Motion.
 

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EXHIBIT A
SCHEDULE OF LEASES
Store Number | Leased Property Location Landlord
HWY 90 & LLOYD STREET
589 | Crestview, FL 32536 Sun West N.C. lij Partners Limited Partnership
4536 HIGHWAY 70
626 | Bradenton, FL 34203 August Urbanek Ivest.
2509 N. HERITAGE STREET
826 | Kinston, NC 28501 Heritage Crossing Associates, Lp
813 E BLVD
886 | Williamston, NC 27892 Roanote Landing Limited Partnership
12450 GAYTON ROAD
942-BL_| Richmond, VA 23233 Dpj Company Limited
12450 GAYTON ROAD
942-GL_| Richmond, VA 23233 Dpj Company Limited
351 NORTH COLLEGE DRIVE
950 | Franklin, VA 23851 W. D. Of Virginia, Inc.
5260 OAKLAWN BLVD
959 | Hopewell, VA 23860 George D. Zamias
4920 GREENSBORO ROAD
963 | Ridgeway, VA 24148 Sheffield Estates, Inc.
1255 FRANKLIN STREET
983 | Rocky Mount, VA 24151 W-D Rocky Mount,Va Partners, Lic
1651 PARIS PIKE
1611 | Georgetown, KY 40324 The Deerfield Company
1065 READING ROAD
1704 | Mason, OH 45040 Mason Shopping Center Partnership
1535 WEST GALBRAITH ROAD
1758 | Cincinnati, OH 45231 Wiedemann Square,Lic
2220 WAYCROSS ROAD
1764 | Cincinnati, OH 45240 Civic Center Station,Ltd.
1967 DIXIE HIGHWAY
1776 | Ft. Wright, KY 41011 Tappen Properties Lp
3901 N KINGS HWY
2109 | Myrtle Beach, SC 29577 Sam Development Associates Lic
124 S CASHUA DRIVE
2115 | Florence, SC 29501 Florence Marketplace Investors, Lic
1611 S. IRBY STREET
2116 {| Florence, SC 29505 Carolina Enterprises, inc
HWY 501 16TH AVE
2124-BL_| Conway, SC 29526 Ccp Employee Profit Sharing Plan
HWY 501 16TH AVE
2124-GL_| Conway, SC 29526 Ccp Employee Profit Sharing Pian
139 WESTFIELD DR.
2146 | Hartsville, SC 29550 Hazel Park Associates
944 EAST STATE ROAD 436
2537 | Casselberry, FL 32730 Casselsquare Lic
210 Century Drive Zurich Structured
9093 | Bartow, FL 33830 Finance

 

 

 

 
